EXHIBIT “C”
 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

INSTRUMENT NUMBER: DOCUMENT TYPE:
5331568 ASSIGNMENT OF MORTGAGE
Document Charge Type| ASSIGNMENT OF MORTGAGE
Official Use Only

 

 

 

Return Address (for recorded documents)

INGEO
1300 NORTH 200 EAST, SUITE 118

 

 

  

 

 

 

 

 

 

 

 
 

 

 

      
 

 

 

 

 

LOGAN UT 84321
TIMOTHY D. TYLER
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 2
8440161 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
September 29, 2017 11:57 AM
Recording Fee $50.00
INSTRUMENT NUMBER
5331568 Realty Transfer Fee $0.00
Total Amount Paid $50.00
BOOK: OR13298
PAGE: 8226 Municipality INGTON TWP

 

Lot: N/A

 

 

 

 

 

MORTGAGE ELEC REGISTRATION SYSTEMS INC

 

Name

 

BANK OF AMERICA

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5559750 Recording Clerk: connieb

 

 

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Book # OR 13298 Page # 8226 Inst. # 5331568

 
 

 

Burlington County Document Summary Sheet

 

 

 

 

 

Transaction Identification Number 3150100 2567439
BURLINGTON COUNTY CLERK
Recorded Document to be Returned by Submitter to:
SECURITY CONNECTIONS, INC
39 RANCOCAS RD 240 TECHNOLOGY DRIVE
MOUNT HOLLY NJ 08060 1317 IDAHO FALLS, ID 83401
Official Use Only Submission Date (mm/ddAyyy) 09/19/2017

   
 
   
   
   
 
 

 

No. of Pages (excluding Summary Shee

 

 

 

 

 

 

 

Recording Fee (excluding transfer ta $50.00
Realty Transfer Tax £0.00
Total Amount $50.00

 

Document Type

 

 

Electronic Recor

 

 

 

 

 

Additional Information (Official Use Only)

 

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Book # OR 13298 Page # 8226 Inst. # 5331568

 

 

 
 

Burlington County Document Summary Sheet

 

 

ASSIGNMENT OF MORTGAGE

 

 

 

Consideration
Submitted By SECURITY CONNECTIONS, INC (CSC/INGEO SYSTEMS INC)
Document Date 09/19/2017

 

Reference Info

 

Book ID Book Beginning Page Instrument No. Recorded/File Date

    
   
   
  
   
  

 

OR 11329 879 4417422

 

 

 

 

 

ASSIGNMENT OF ASSIGNOR Name
MORTGAGE

Address

 

 

MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS INC

 

 

ASSIGNEE Address

 

 

 

 

 

 

 

Parcel Info

 

Tax Dist. Block Lot Qualifier Municipality

 

 

 

 

 

 

 

 

 

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ee Page 2 of 2

Book # OR 13298 Page # 8226 Inst. # 5331568
 
   
 
 
   
  
   
 
    
   
   
 
  
   

[Space Above This Line for Recording Data

 

 

This Document Prepared By:

LISA CAMPBELL MOORE TITLE COMPANY
BANK OF AMERICA IONAL WAY

MC: FL1-908-01-05 » ID 83402

4909 SAVARESE CIR.

TAMPA, FL 33634

(800) 444-4302
Tax/Parcel #: 109,25-32

GISTRATION SYSTEMS, INC. ("MERS") AS
ITS “SUCCESSORS AND ASSIGNS (herein “Assignor”),
1-2026, does hereby grant, assign, transfer and convey unto
, whose address is 1800 TAPO CANYON ROAD, SIMI
signs all its right, title and interest in and to a certain Mortgage

For Value Received, MORTGAGE ELECTR
NOMINEE FOR QUICKEN LOANS Fi
whose address is P.O. Box 2026, Flint,
BANK OF AMERICA, N.A. (herein
VALLEY, CA 93063, and its successe
described below.

 

Mortgagee: MORTGAGE
NOMINEE FOR QUIC]I
Borrower(s): MELISSA
Date of Mortgage: FEB
Original Loan Amoun
Property Address:

IC REGISTRATION SYSTEMS, INC. ("MERS"), AS
NC., ITS SUCCESSORS AND ASSIGNS
AND JOHN CONKLIN, WIFE AND HUSBAND

RY 27, 2007 in INSTRUMENT NO. 4417422 BOOK 11329 PAGE 879 of the

Recorded on
e RLINGTON COUNTY, State of NEW JERSEY.

official

Assignment of Mortgage - h Page |
Wintrack #

    

MERS Phone#;: (888) 679-6377

Book # OR 13298 Page # 8226 Inst. # 5331568
 

 

IN OAS the undersigned has caused this Assignment of Mortgage to be executed on

 

Date

MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS") AS NOMINEE FOR
QUICKEN LOANS INC., ITS SUCCESSORS AND ASSIGNS

By: _pxah choo Paavo JOSEPH LUIS ROSARIO

(Sigriature) (Print name)
ASSISTANT VICE PRESIDENT

[Space Below This Line for Acknowledgments]

  
  
 
  
      
    
  
  
   
  

 

STATE OF Fi/eore

county or_AY, Is bor ough)ss

I CERTIFY that = on __ this_/S day
JOSEPH LUIS ROSARIO personally came before me
(or if more than one, each person):

to my satisfaction that this person

(a) Was the maker of the attached instrument;

(wo Was authorized to and did execute thi
<7_-company, the entity named in this i

(c) Executed this instrument as th

s ASSISTANT VICE PRESIDENT of the

ty named - instrument
fj: (E>>,—

~ (Print name A pitle below signature)
20/7 Penny Brueggeman

 

 

PENNY BRUEQGEMAN
Notary Public, State of Florida
Commission# GG 72010
My comm. expires Feb. 12, 2021

 

 

 

 

 

Assignment of Mortgage - Page 2
Wintrack #:

   

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Book # OR 13298 Page # 8226 Inst. # 5331568
 

 

 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 
 

 

 

   

INSTRUMENT NUMBER: DOCUMENT TYPE:
5433526 ASSIGNMENT OF MORTGAGE
Document Charge Type | ASSIGNMENT OF MORTGAGE
Official Use Only
Return Address (for recorded documents)
LLC SIMPLIFILE
4844 NORTH 300 WEST
PROVO UT 84604
JOANNE SCHWARTZ
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 2
8546760 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
January 09, 2019 3:25 PM
Recording Fee $50.00
INSTRUMENT NUMBER
5433526 Realty Transfer Fee $0.00
Total Amount Paid $50.00
BOOK: OR13370
PAGE: 6060 Municipality INGTON TWP

 

 

 

 

 

 

 

   

Parcel Inforn

Lot: N/A

 

 

 

BANK OF AMERICA

 

Name |ABS LOAN TR

 

 

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5695035 Recording Clerk: jparish

 

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Book # OR 13370 Page # 6060 Inst. # 5433526

 
 

 

 

Burlington County Document Summary Sheet

 

BURLINGTON COUNTY CLERE

50 RANCOCAS RD
MOUNT HOLLY NJ 08060 1317

 

Transaction Identification Number

3690653

3203077

 

MERIDIAN ASSET SERVICES - API
3201 34TH ST S STE 310

ST PETERSBURG, FL 33711

Recorded Document to be Returned by Submitter to:

 

Official Use Only

Submission Date (mm/ddAyvyy)

 

01/04/2019

 

 

No. of Pages (excluding Summary Shee

 

Recording Fee (excluding transfer ta

 
 

$50.00

 

 

Realty Transfer Tax

 

Total Amount

 

$0.00

 

   

 

$50.00

 

Document Type

 
 

 

 

  

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Additional Information (Official Use Only)

 

 

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Book # OR 13370 Page # 6060 Inst. # 5433526

Page 1 of 2
 

Burlington County Document Summary Sheet

 

 

ASSIGNMENT OF MORTGAGE

 

Consideration

 

Submitted By SIMPLIFILE, LLC. (SIMPLIFILE)

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

  

 

 

   

 

 
 

Document Date 12/21/2018
Reference Info
Book ID Book Beginning Page Instrument No. Recorded/File Date
11329 879 N/A
ASSIGNMENT OF ASSIGNOR Name Address
MORTGAGE
MELISSA CONKLIN
JOHN CONKLIN
BANE OF AMERICA NA
ASSIGNEE Address
ABS LOAN TRt$T V
Parcel Info
Tax Dist. Block Lot Qualifier Municipality

 

 

 

 

 

 

 

 

 

 

 

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Book # OR 13370 Page # 6060 Inst. # 5433526

Page 2 of 2
Prepared By and Return To:
Kathleen Collins

Collateral Department

Meridian Asset Services, LLC
3201 34th Street South, Suite 310
St. Petersburg, FL 33711

(727) 497-4650

 
 
    
  
    
  
  
  
   
   
 
 
   
   
   

Space above for Recorder's use

FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency of wh
undersigned, BANK OF AMERICA, N.A., whose address is 1800 TAP
93063, (ASSIGNOR), does hereby grant, assign and transfer to ABS LO
BRYANT PARK, 38TH FLOOR, NEW YORK, NEW VORK
and assigns forever, all beneficial interest under that certain mortga
therein with all interest, all liens, and any rights due or to beco

ASSIGNMENT OF MORTGAGE

eby acknowledged, the

ON RD., SIMI VALLEY, CA
ST V, whose address is ONE
GNEE), its successors, transferees
og@her with the certain note(s) described

Date of Mortgage: 2/12/2007

Original Loan Amount: $29,500.00
Executed by (Borrower(s)); MELISSA CONKLIN &
Original Lender; MORTGAGE ELECTRONIC:REGISTRATION SYSTEMS, INC., AS NOMINEE FOR
QUICKEN LOANS INC., [TS SUCCESSORS
Filed of Record: In Mortgage Book/Liber/Volu
Document/Instrument Na: N/A in the Recordi
MUNICIPALITY: TOWNSHIP OF B

ee

, Page 879,

IN WITNESS WHEREOF, th
of directors has duly executed

ed by its duly elected officers and pursuant to proper authority of its beard
|, acknowledged and delivered this assignment.

   

 

  

 

   

. By: MARK WATERMAN — Witness Name: MARSHALL HILL

Title: VICE PRESIDENT

Book # OR 13370 Page # 6060 Inst. # 5433526
 

A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
THE INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE [S ATTACHED, AND NOT THE
TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT

 

 

 

State of FLORIDA
County of PINELLAS

DEC 2 1 2018 , before me. TERESA M. DE LA ROSA, a Nota i

. . , ry Public, pe
appeared MARK WATERMAN, VICE PRESIDENT offfor MERIDIAN ASSET SER
ATTORNEY-IN-FACT FOR BANK OF AMERICA, N.A., personaliy known to
basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to 4
acknowledged to me that he/she/they executed the same in his/her/their authorized
his/hes/their signature(s) on the instrument the person(s), or the entity upon beh
executed the instrument. | certify under PENALTY OF PERJURY under the ja
the foregoing paragraph is true and correct, ] further certify MARK WAT
delivered this document as a voluntary act in my presence.

  
  
  
  
  
 
  
  

LLC, AS

0 proved to me on the
instrument and

ies), and that by

ich the person(s} acted,

the State of FLORIDA that
igned, sealed, attested and

 

(Notary Name}: TERESA M. DE LA ROSA
My commission expires: 01/24/2022

Book # OR 13370 Page # 6060 Inst. # 5433526
 

 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 
 

 

 

    

 

 

   

 

 

 

 

INSTRUMENT NUMBER: DOCUMENT TYPE:
5467345 ASSIGNMENT OF MORTGAGE
Document Charge Type | ASSIGNMENT OF MORTGAGE
Official Use Only
Return Address (for recorded documents)
LLC SIMPLIFILE
4844 NORTH 300 WEST
PROVO UT 84604
JOANNE SCHWARTZ
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 1
8586472 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
June 28, 2019 2:41 PM
Recording Fee $40.00
INSTRUMENT NUMBER
5467345 Realty Transfer Fee $0.00
Total Amount Paid $40.00
BOOK: OR13394
PAGE: 3294 Municipality INGTON TWP
Parcel Inforn Block: N/A
Lot: N/A
ABS LOAN TR
Name | ABS REO TR

 

 

 

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5740364 Recording Clerk: kathy

 

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Book # OR 13394 Page # 3294 Inst. # 5467345

 
 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

   

 

 

 

 
 

 

 

 

 

 

 

  

 

 

  

 

 

 

 

Burlington County Document Summary Sheet
Transaction Identification Number 3882599 3455662
BURLINGTON COUNTY CLERK .
Recorded Document to be Returned by Submitter to:
RICHMOND MONROE - SPS
50 RANCOCAS RD 8? JIM LINEGAR LANE
MOUNT HOLLY NJ 08060 1317 BRANSON WEST, MO 65686
Official Use Only Submission Date (mm/ddAyyy) 06/20/2019
No. of Pages (excluding Summary Shee I
Recording Fee (excluding transfer ta $40.00
Realty Transfer Tax $0.00
Total Amount $40.00
Document Type MORTGAGE
Electronic Recor L2 - Level 2 (With Images)
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Additional Information (Official Use Only)
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Page 1 of 2

Book # OR 13394 Page # 3294 Inst. # 5467345
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

  

 

 

  

 

 

 

 

 

 

 

 

   

  

 

 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Book # OR 13394 Page # 3294 Inst. # 5467345

Burlington County Document Summary Sheet
ASSIGNMENT OF MORTGAGE
Consideration
Submitted By SIMPLIFILE, LLC. (SIMPLIFILE)
Document Date 05/29/2019
Reference Info
Book ID Book Beginning Page Instrument No. Recorded/File Date
11329 879
ASSIGNMENT OF ASSIGNOR Name Address
MORTGAGE
ABS LOAN TRUST V
SELECT PORTFOLIO SERVICING INC
MELISSA CONKLIN
JOHN CONKLIN
ASSIGNEE Address
ABS REO TRUSEV
Parcel Info
Tax Dist. Block Lot Qualifier Municipality
* DO NOT REMOVE THIS PAGE,
COVER SHEET [DOCUMENT SUMMARY FORM] IS PART OF BURLINGTON COUNTY FILING RECORD.
RETAIN THIS PAGE FOR FUTURE REFERENCE,
Page 2 of 2
Recording Requested By:

Select Portfolio Servicing, inc.
When recorded return to :
Richmond Monroe Group
82 Jim Linegar LN
Branson W: O. 65737
SPS #

a

CORPORATE ASSIGNMENT OF MORTGAGE

 

  

NWBURLINGTON
Assignment Prepared on: May 23, 2019

Assignor: ABS LOAN TRUST V BY SELECT PORTFOLIO SERVICING, INC., ITS ATTORNEY IN FACT, at
C/O SELECT PORTFOLIO SERVICING, INC., 3217 S. DECKER LAKE DRIVE, SALT LAKE CITY, UT,

  
   
   
   
   
    
  
   
   

Aasignee: ABS REO TRUST V, at C/O SELECT PORTFOLIO SERVICING, INC., 3217 5, DECK
DRIVE, SALT LAKE CITY, UT, 84419

For value received, the Assignor dees hereby grant, sefl, assign, transfer and convey, unte the 2
Assignee all interest under that certain Mortgage Dated: 2/12/2007, in the amount of $29,
MELISSA CONKLIN AND JOHN CONKLIN, WIFE AND HUSBAND to MORTGAGE ELE
SYSTEMS, INC. ("MERS") 4S NOMINEE FOR QUICKEN LOANS INC. ITS SUCCE
Recorded: 2/22/2007, Book: 11329, Page: 879 in BURLINGTON County, State of

The property is located in the Township of BURLINGTON.
Property Address: 63 GUILFORD CT, BURLINGTON TWP, NJ, 08016

TO HAVE AND TO HOLD, the same unto Assignee, its successors and subject only to the terns

and conditions of the above-described Mortgage.
ABS LOAN TRUST V BY SELECT PORTFOLIO SERVICING, INC,

 

State of UTAH
County of SALT LAKE

On MAY 2 4 2019 . olina Fresquez ,__, &Notary Public in
ant STA in the State of ly appear f

UST ¥ BY SELECT PORTFOLIO SERVICING, INC., ITS

me (or proved to me.on the basis of satisfactory evidence) to be the

te the within instrument and acknowledged to me that he/sherthey

ed capacity, and that by his/her/their signature on the instrument the
which the person(s) acted, executed the instrument.

 

MOLINA FRESQUEZ
Notary Public State of Utah

s My Commission Expires on:
January 26, 2023

comm, Number: 704224

 
  

 

 

 

Book # OR 13394 Page # 3294 Inst. # 5467345
 

 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 
 

 

 

    

 

 

   

 

 

 

 

INSTRUMENT NUMBER: DOCUMENT TYPE:
5549085 ASSIGNMENT OF MORTGAGE
Document Charge Type | ASSIGNMENT OF MORTGAGE
Official Use Only
Return Address (for recorded documents)
LLC SIMPLIFILE
4844 NORTH 300 WEST
PROVO UT 84604
JOANNE SCHWARTZ
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 1
8673008 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
July 10, 2020 12:41 PM
Recording Fee $40.00
INSTRUMENT NUMBER
5549085 Realty Transfer Fee $0.00
Total Amount Paid $40.00
BOOK: OR13454
PAGE: 3119 Municipality INGTON TWP
Parcel Inforn Block: N/A
Lot: N/A
ABS REO TR
Name | ABS LOAN TR

 

 

 

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5845723 Recording Clerk: gvaughan

 

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Book # 13454 Page # 3119 Inst. # 5549085

 
 

 

Burlington County Document Summary Sheet

 

BURLINGTON COUNTY CLERK

50 RANCOCAS RD
MOUNT HOLLY NIJ 08060 1317

 

Transaction Identification Number

 

4428863 4158840

 

RESIDENTIAL REAL ESTATE REVIEW, INC.
3217 DECKER LAKE DR

WEST VALLEY CITY, UT 84119

Recorded Document to be Returned by Submitter to:

 

Official Use Only

Submission Date (mm/ddAyvyy)

 

06/19/2020

 

  

No. of Pages (excluding Summary Sheet)...

 

Recording Fee (excluding transfer tax)

 
 

$40.00

 

 

Realty Transfer Tax

 

$0.00

 

   

 

Total Amount

 

$40.00

 

 

 

Document Type

 

 

  
 

Electronic Reco

 

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Book # 13454 Page # 3119 Inst. #5549085

Page | of 2
 

Burlington County Document Summary Sheet

 

ASSIGNMENT OF
MORTGAGE

 

ASSIGNMENT OF MORTGAGE

 

 

 

Consideration
Submitted By SIMPLIFILE, LLC. (SIMPLIFILE)
Document Date 02/12/2007

 

Reference Info

 

Book ID Book Beginning Page Instrument No. Recorded/File Date

   

 

4417422

       
   

11329 879

 

 

 

 

 

ASSIGNOR Name Address

 

 

ABS REO TRUST V

 

 

ASSIGNEE Address

 

 

 

 

Parcel Info

 
 
  

 

Tax Dist. Block Lot Qualifier Municipality

 

 

 

 

 

 

 

 

 

 

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Book # 13454 Page # 3119 Inst. #5549085
 

 

 

Recording Requested By:
Richmond Monroe Group

When Recorded Mall To:
Jeff Prose

Richmond Monroe Group
82 Jim Linegar Ln
Branson West, MO, 65737
(417) 447-2931

CORPORATE ASSIGNMENT OF MORTGAGE
NJ/BURLINGTON

 

 

Assignment Prepared on: May 28, 2020

Assignor; ABS REO TRUST V BY SELECT PORTFOLIO SERVICING, ING., ITS ATTORNEY IN FACT, at C/O
SELECT PORTFOLIO SERVICING, INC., 3217 S. DECKER LAKE DRIVE, SALT LAKE CITY, UT, 84119

    
   
   
   
   
   
   

Assignee: ABS LOAN TRUST V, at C/O SELECT PORTFOLIO SERVICING, INC., 3217 S. DE
DRIVE, SALT LAKE CITY, UT, 84119

For value received, the Assignor does hereby grant, sell, assign, transfer and convey, unto the
Assignee all interest under that certain Mortgage Dated: 2/12/2007, in the amount of $29,

MELISSA CONKLIN AND JOHN CONKLIN, WIFE AND HUSBAND to MORTGAGE E Cc
SYSTEMS, INC. ("MERS"”) AS NOMINEE FOR QUICKEN LOANS INC., ITS SUCC

REGISTRATION
) ASSIGNS.

Recorded: 2/27/2007, Instrument #: 4417422, Book: 11329, Page: 879 in BURLIN , State of New
Jersey.

The property is located in the Township of BURLINGTON.

Property Address: 63 GUILFORD CT, BURLINGTON TWP, NJ, 08016

TO HAVE AND TO HOLD, the same unto Assignee, its successors an j forever, subject only to the terms

and conditions of the above-described Mortgage.

ABS REO TRUST V BY SELECT PORTFOLIO SERVICING, IN
JUN 1 42020

 
  
  
 
 
 
 
 
  
    
   

On:
By:
Name:

Title:

State of UTAH
County of SALT LAKE

on __JUN 11 2026

‘AH, personally appeared
REO TRUST V BY SELECT PORTFOLIO SERVICING, INC., ITS

ubscribed to the within instrument and acknowledged to me that he/she/they
air authorized capacity, and that by his/her/their signature on the instrument the
In behalf of which the person(s) acted, executed the instrument.

 

SHELLEY MALM
i Notary Public Stote of Utah
4 My Commission Expires on:
i February 11, 2021
ES Comm. Number: 692961

  

 

  

Notary Expires: \/ iH: 692961

 

 

 

NJ/BURLINGTON

Book # 13454 Page # 3119 Inst. # 5549085
 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 
 

 

 

   

INSTRUMENT NUMBER: DOCUMENT TYPE:
5602008 ASSIGNMENT OF MORTGAGE
Document Charge Type | ASSIGNMENT OF MORTGAGE
Official Use Only
Return Address (for recorded documents)
LLC SIMPLIFILE
4844 NORTH 300 WEST
PROVO UT 84604
JOANNE SCHWARTZ
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 3
8724730 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
January 06, 2021 2:02 PM
Recording Fee $60.00
INSTRUMENT NUMBER
5602008 Realty Transfer Fee $0.00
Total Amount Paid $60.00
BOOK: OR13495
PAGE: 2368 Municipality INGTON TWP

 

 

 

 

 

Parcel Inforn

   
 

 

Lot: N/A

 

 

 

ABS LOAN TR V

 

Name

 

 

WILMINGTON SAV FUND SOCIETY

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5921623 Recording Clerk: vramirez

 

 

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Book # OR 13495 Page # 2368 Inst. # 5602008

 
 

 

Burlington County Document Summary Sheet

 

 

4848607

 

Transaction Identification Number

4675683

 

BURLINGTON COUNTY CLERK
Recorded Document to be Returned by Submitter to:
AMIP MANAGEMENT, LLC
50 RANCOCAS RD 3020 OLD RANCH PARKWAY, SUITE 180
MOUNT HOLLY NJ 08060 1317 SEAL BEACH, CA 90740

 

Official Use Only Submission Date (mm/ddAyvyy)

 

12/15/2020

 

 

No. of Pages (excluding Summary Shee

 

 
 

Recording Fee (excluding transfer ta

$60.00

 

 

 

Realty Transfer Tax

$0.00

 

   

 

 

Total Amount

$60.00

 

Document Type

 
 

 

 

Electronic Recor

 

 

 

  

 

 

Additional Information (Official Use Only)

  

 

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Book # OR 13495 Page # 2368 inst. # 5602008

Page 1 of 2
 

Burlington County Document Summary Sheet

 

 

 

ASSIGNMENT OF MORTGAGE

 

 

 

Consideration
Submitted By SIMPLIFILE, LLC. (SIMPLIFILE)
Document Date 08/25/2020

 

Reference Info

 

Book ID Book Beginning Page Instrument No. Recorded/File Date
4417422

   

 

  
   
  
  
  
  
  
 

11329 879

 

 

 

 

 

ASSIGNMENT OF ASSIGNOR Name Address

MORTGAGE

 

 

ABS LOAN TRUST V
SELECT PORTFOLIO SERVICING INC

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 
  

 

MELISSA CONKLIN
JOHN CONKLIN
ASSIGNEE Address
Parcel Info
Tax Dist. Block Lot Qualifier Municipality

 

 

 

 

 

 

 

 

 

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ee Page 2062

Book # OR 13495 Page # 2368 inst. # 5602008

 

 
 

Prepared By and Return To:

Collateral Department

Meridian Asset Services, LLC
3201 34th Street South, Suite 310
St. Petersburg, FL 33711

(727) 497-4650

 
 
 
  
   
    
  
   
  
  
   
   
     
   
   
  
  

 

 

Space above for Recorder's use

a

ASSIGNMENT OF MORTGAGE

ereby acknowledged, the

IG, INC., ITS ATTORNEY-IN-
LLEY ITY, UT 84119,

y whose address is

A ferees and assigns forever, all

note(s) described therein with all interest, all

FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency of
undersigned, ABS LOAN TRUST V, BY SELECT PORTFOLIO SE
. FACT, whose address is 3217 SOUTH DECKER LAKE, DRIVE,

(ASSIGNOR), dges here rant assign and transfer to Q's
(ASSIGNEE), its suce

beneficial interest under that certain mortgage, together w:
liens, and any rights due or to become due thereon.

 

Date of Mortgage: 2/12/2007
Original Loan Amount: $29,500.00

Executed by (Borrower(s)): MELISSA CONKL|
Original Lender: MORTGAGE ELECTRON
NOMINEE FOR QUICKEN LOANS IN
Filed of Record: In Mortgage Book/Liber/¥:
Document/Instrument No: N/A in the Re
MUNICIPALITY: TOWNSHIP ©

HN CONKLIN

TRATION SYSTEMS, INC., AS MORTGAGEE, AS
CESSORS AND ASSIGNS

1329, Page 879

istrict of Burlington, NJ, Recorded on 2/22/2007.

TON

Property more commonly de GUILFORD CT, BURLINGTON TWP, NEW JERSEY 08016

IN WITNESS WHERE!
of directors has duly:¢

igned by its duly elected officers and pursuant to proper authority of its board
aled, acknowledged and delivered this assignment.

Date:

 

ABS LOAN TRUST V, BY SELECT PORTFOLIO SERVICING, INC., ITS ATTORNEY-IN-FACT

 

 

* fr
By: Witness Name: Bill Koch
Title: _ DOCUMENT CONTROL OFFICER my, —_—r————
¢0tlO Sec,

Yi, OTAN

PS8 Luxe sory castor an

Book # OR 13495 Page # 2368 inst. # 5602008
 

A NOTARY PUBLIC OR OTHER OFFICER COMPLETING THIS CERTIFICATE VERIFIES ONLY THE IDENTITY OF
THE INDIVIDUAL WHO SIGNED THE DOCUMENT TO WHICH THIS CERTIFICATE IS ATTACHED, AND NOT THE
TRUTHFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT

 

 

 

    
     
     
  
  
     

State of UTAH
County of  SaltLake
On AUG 2 5 2020 , beforeme,__ Taylor Davis , a Notary Public;‘personally

 

SELECT

V, personally known
ame(s) is/are subscribed
s/her/thetr authorized

e entity upon behalf of
»PERJURY under the laws of the
Bryan Ball - ,

appeared __ Bryan Ball , _Document Control Oifice:
PORTFOLIO SERVICING, INC., AS ATTORNEY-IN-FACT FOR ABS LOA
to me, or who proved to me on the basis of satisfactory evidence to be the person(s
to the within instrument and acknowledged to me that he/she/they executed th
capacity(ies), and that by his/her/their signature(s) on the instrument the perso:
which the person(s) acted, executed the instrument. I certify under PENAL*
State of that the foregoing paragraph is true and correct. 1 further certify:
' signed, sealed, attested and delivered this document as a voluntary act

  
  

 

   

TAYLOR DA
Ne Notary Public State

My Commission Exp

February 7,
Comm, Number:

 
    

 

     

Book # OR 13495 Page # 2368 inst. # 5602008
EXHIBIT A

**WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY
AS TRUSTEE OF HOME PRESERVATION PARTNERSHIP TRUST

**PPR NOTE CO., INC., 920 CASSAT RD., SUITE 210, BERWYN, PA 19312

 

Book # OR 13495 Page # 2368 inst. # 5602008
 

RECORDING INFORMATION SHEET

 

50 RANCOCAS RD,
MT. HOLLY, NJ 08060

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 
 

 

 

      
 

 

 

INSTRUMENT NUMBER: DOCUMENT TYPE:
5602009 ASSIGNMENT OF MORTGAGE
Document Charge Type | ASSIGNMENT OF MORTGAGE
Official Use Only
Return Address (for recorded documents)
LLC SIMPLIFILE
4844 NORTH 300 WEST
PROVO UT 84604
JOANNE SCHWARTZ
BURLINGTON COUNTY
RECEIPT NUMBER No. Of Pages 1
8724730 (Excluding Recording Information and/or ry Sheet)
RECORDED ON Consideration Amount $0.00
January 06, 2021 2:02 PM
Recording Fee $40.00
INSTRUMENT NUMBER
5602009 Realty Transfer Fee $0.00
Total Amount Paid $40.00
BOOK: OR13495
PAGE: 2374 Municipality INGTON TWP
Parcel Inforn Block: N/A
Lot: N/A

 

 

 

 

WILMINGTON SAV FUND SOCIETY

 

Name

 

 

WILMINGTON SAV FUND SOCIETY

 

 

 

Additional Information (Official Use Only)

Ctrl Id: 5921624 Recording Clerk: vramirez

 

 

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Book # 13495 Page # 2374 Inst. # 5602009

 
 

 

 

Burlington County Document Summary Sheet

 

BURLINGTON COUNTY CLERE

50 RANCOCAS RD
MOUNT HOLLY NJ 08060 1317

4848607

 

Transaction Identification Number

4675684

 

Recorded Document to be Returned by Submitter to:
AMIP MANAGEMENT, LLC
3020 OLD RANCH PARKWAY, SUITE 180

SEAL BEACH, CA 90740

 

Official Use Only

Submission Date (mm/ddAyvyy)

 

12/15/2020

 

 

No. of Pages (excluding Summary Shee

 

 
 

Recording Fee (excluding transfer ta

$40.00

 

 

 

Realty Transfer Tax

$0.00

 

   

 

 

Total Amount

$40.00

 

Document Type

 
 

 

 

Electronic Recor

 

 

 

  

 

 

  

Additional Information (Official Use Only)

 

 

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Book # 13495 Page # 2374 inst. # 5602009

Page 1 of 2
 

Burlington County Document Summary Sheet

 

ASSIGNMENT OF
MORTGAGE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
  

 

 

  

 

 

  

 

 

 

 

  

 

 

  
 

 

 

  
   

 

 

 

 

 

   

 

 
 

ASSIGNMENT OF MORTGAGE
Consideration
Submitted By SIMPLIFILE, LLC. (SIMPLIFILE)
Document Date 12/14/2020
Reference Info
Book ID Book Beginning Page Instrument No. Recorded/File Date
11329 879 4417422
ASSIGNOR Name Address
WILMINGTON SAVINGS FUND
SOCIETY FSB TR
HOME PRESERVATION PARTNERS.
TRUST
MELISSA CONKLIN
JOHN CONKLIN
ASSIGNEE Address
WILMINGTO
SOCIETY FSB
UST VI-A
Parcel Info
Tax Dist. Block Lot Qualifier Municipality

 

 

 

 

 

 

 

 

 

 

 

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Book # 13495 Page # 2374 inst. # 5602009

Page 2 of 2
Prepared by and when
Recorded Retum to:

AMIP Management

Attn: Dena Noble

3620 Old Ranch Pkwy #180
Seal Beach, CA 90740

Servicer

ASSIGNMENT OF Mortgage

    
  
    
   
   
   
   
  
 

For Value Received, WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT IN ITS INDIVIBQAL CAPACITY BUT
SOLELY AS TRUSTEE OF HOME PRESERVATION PARTNERSHIP TRUST (herein “Assi ose address c/o
PPR Note Co., LLC, 920 Cassatt Road, Berwyn, PA 19312, does hereby grant, sell, assig nd convey, unto
WILMINGTON SAVINGS FUND SOCIETY, FSB, AS OWNER TRUSTEE OF T SIDENTIAL CREDIT
OPPORTUNITIES TRUST VI-A (herein “Assignee”), whose address is 3020 OLD RAN WAY, STE 180, SEAL
BEACH, CA 90740, a certain described Mortgage, together with the note(s) and therein described and the
money due and to become due thereon with interest, and all rights accrued or to ider such Mortgage.

nic Registration Systems, Inc.
»and filed for record 2/27/2007 as
rsey,

Mortgage from Melissa Conklin and John Conklin, wife and husband to Mortg
as nominee for Quicken Loans Inc. in the amount of $29,500.00 dated 2/1:
Instrument 4417422 in the official records of Burlington County, STATE
Book 11329, Page 879 :
Property Address: : 63 GUILFORD CT, BURLINGTON TWP, NJ 0801

IN WITNESS WHEREOF, undersigned Assign
Detar ber 1p, 220

WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT IN
OF HOME PRESERVATION PARTNERSHIP TRU

By: American Wr. Investment Partners Manag

By: ZL
Ron McMahan —
CEO

executed this Assignment of Mortgage on

VIDUAL CAPACITY BUT SOLELY AS TRUSTEE

  
   
  
   
  
 
 
 
  
 
     
  

nt, LLC, its Attorney-in-Fact

   

.

 

 

is certificate verifies only the identity of the individual who signed the
ed, and not the truthfulness, accuracy, or validity of that document.

A Notary Public or other officer co.
document to which this certificate

 

 

 

 

State of California
County of Orange

ore me, Valya Fisher, the undersigned Notary Public, personally appeared Ron
on the basis of salisfactory evidence to be the person whose name is subscribed to the
wledged to me that he executed the same in his authorized capacity, and that by his
the person or the entity upon behalf of which the person acted, executed the instrument.

within instrument ani
signature on the instru

i certify under penalty of perjury under the laws of the State of California that the foregoing paragraph is true and
correct.

WITNESS my hand and official seal

  

Signature
Valya Fisher,

Book # 13485 Page # 2374 inst. # 5602009

 
